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                      IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEW MEXICO


SARAH MONTOYA o/b/o
L.M. a minor child,

       Plaintiff,

vs.                                                Case No. 1:21-cv-00648 LF/JFR

RIO RANCHO PUBLIC SCHOOLS
BOARD OF EDUCATION and
GEORGE ARCHULETA in his
individual capacity,

       Defendants.


            JOINT STATUS REPORT AND PROVISIONAL DISCOVERY PLAN

       Pursuant to FED. R. CIV. P. 26(f), a meeting was held on August 2, 2021, at 10:30 a.m. and

was attended by:

       Jason Bowles
       4811 Hardware Dr NE, Suite D-5
       Albuquerque, NM 87109
       (505)217-2680
       jason@bowles-lawfirm.com
       for Plaintiffs

       Todd J. Bullion
       300 Central Ave SW, Suite #1000E
       Albuquerque, NM 87102
       (505) 452-7674
       todd@bullionlaw.com
       for Plaintiffs

       Jerry A. Walz
       Walz and Associates, P.C.
       133 Eubank Blvd NE
       Albuquerque, NM 87123
       (505) 275-1800
       jerryawalz@walzandassociates.com
       for Defendants Rio Rancho Public Schools, Board of Education
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        Carlos M. Quiñones
        Quiñones Law Firm LLC
        1223 S. Saint Francis Dr., Ste. C
        Santa Fe, NM 87505
        (505) 992-1515
        quinoneslaw@cybermesa.com
        for Defendant George Archuleta

                                      NATURE OF THE CASE

        Plaintiffs claim violations of minor L.M.’s federal and state constitutional rights and also

claim violations of the New Mexico Tort Claims Act. Plaintiffs’ Complaint states that L.M. was a

student at V. Sue Cleveland High School, L.M. alleges that he was subjected to unlawful and

pretextual searches for drugs on his person by a security guard employed by V. Sue Cleveland High

School, George Archuleta. Plaintiff claims that George Archuleta inappropriately touched L.M. in an

inappropriate manner without justification.

        Defendants deny all allegations in Plaintiffs’ Complaint.

                 AMENDMENTS TO PLEADINGS AND JOINDER OF PARTIES

        Plaintiff intends to file: Motion to admit evidence that George Archuleta engaged in similar

behavior committing sexual assault against two other high school boys, J.M. and D.M. under the

pretext of performing his duties as a security guard. Plaintiff L.M. may move to join J.M. and D.M.

as co-plaintiffs as they will also be asserting claims against the Defendants.


        Plaintiff(s) should be allowed until September 13, 2021 to move to amend the pleadings and

until September 13, 2021 to join additional parties in compliance with the requirements of Fed. R.

Civ. P. 15(a).

        Defendant intends to file:      None at this time.

        Defendants(s) should be allowed until October 13, 2021 to move to amend the pleadings and

until October 13, 2021 to join additional parties in compliance with the requirements of Fed. R. Civ.

P. 15(a).



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                                        STIPULATIONS

       The parties hereto stipulate and agree that venue is properly laid in this District; that the

United States District Court for the District of New Mexico has jurisdiction of the parties and the

subject matter.

       The parties further stipulate and agree that the law governing this case is 42 U.S.C. §

1983 and the New Mexico Tort Claims Act.

       Defendant Archuleta was employed by Defendant Board of Education of Rio Rancho

Public Schools as a campus security aide at Cleveland High School.


                               PLAINTIFF'S CONTENTIONS:

Plaintiff’s Contentions: L.M. contends that he was searched pretextually by George Archuleta,

an employee of Defendant Board of Education of Rio Rancho Public Schools, in the course and

scope of George Archuleta’s employment and under color of law. L.M. contends that he was

touched inappropriately during these searches as detailed in the complaint filed in this matter.

L.M. contends that the school policies in place were inadequate to prevent the harm that he

suffered. L.M. further contends that George Archuleta and the school violated the policies that

were in place. L.M. contends that he has suffered damages as a result of the Defendants’

conduct.


                              DEFENDANTS’ CONTENTIONS

Defendants Rio Rancho Public Schools, Board of Education’s Contentions: These

Defendants state that there were proper policies and procedures in place relating to stop, search

and seizure of students and at all times such policies and procedures would have been followed if

in fact any interactions occurred between co-Defendant George Archuleta and Plaintiff




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L.M. Further, co-Defendant George Archuleta was properly hired, trained and supervised at all

times and there were no known complaints made against George Archuleta and further there is

no record of any complaint of any type regarding any alleged improper interaction with the

minor Plaintiff L.M.

Defendant George Archuleta’s Contentions:                  Defendant Archuleta was employed by

Defendant Board of Education of Rio Rancho Public Schools as a campus security aide at

Cleveland High School. At all relevant times, Defendant Archuleta complied and followed

policies and procedures in place related to searches of students. He denies Plaintiff’s allegations.

Defendant Archuleta fully incorporates and adopts by reference herein his Answer and

Affirmative Defenses to Plaintiff’s Complaint filed July 22, 2021 (Doc. # 6).


                              PROVISIONAL DISCOVERY PLAN

       The parties jointly propose to the Court the following discovery plan: (Use separate

paragraphs or subparagraphs as necessary if parties disagree.)

 List all witnesses who, at this time, you think will either testify or be deposed, giving their
 name, title, address and a brief summary of their testimony. It is insufficient to list witnesses’
 addresses, save for clients, “in care of counsel.”

 List all documents which you believe, at this time, will be exhibits at the trial.

 List all experts who you believe, at this time, will testify at the trial, giving their name, address,
 area of expertise, and a brief summary of the anticipated testimony.


Plaintiffs’ Witnesses:

     1.       George Archuleta, c/o Carlos M. Quiñones, Esq., 1223 S. Saint Francis Dr., Ste.
        C, Santa Fe, New Mexico, 87505 (505) 992-1515. It is expected that Mr. Archuleta
        will testify regarding any interactions between himself and D.M.
     2.       V. Scott Affentranger, Principal, c/o Jerry A. Walz, 133 Eubank Blvd NE,
        Albuquerque, NM 87123 (505) 275-1800. It is expected that Principal Affentranger
        will testify as to George Archuleta’s employment, school policies, any complaints made
        against any person regarding George Archuleta, any complaints made by any person

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          regarding other school security personnel, and any instances in which V Sue Cleveland
          Highschool is alleged to have permitted sexual harassment.
     3.         L.M. in c/o Jason Bowles 4811 Hardware Drive, N.E., Building D, Suite 5,
          Albuquerque, NM 87109 505-207-2681. It is expected that L.M. will testify to the facts
          in his complaint and will also testify as to how the Defendants’ conduct has caused him
          harm. L.M. will also testify to observing Defendant Archuleta engage in similar
          harmful conduct with two classmates, J.M. and D.M.
     4.         J.M. in c/o Jason Bowles 4811 Hardware Drive, N.E., Building D, Suite 5,
          Albuquerque, NM 87109 505-207-2681. It is expected that J.M. will testify that George
          Archuleta engaged in pretextual searches of J.M. and touched J.M. inappropriately.
     5.         D.M. in c/o Jason Bowles 4811 Hardware Drive, N.E., Building D, Suite 5,
          Albuquerque, NM 87109 505-207-2681. It is expected that D.M. will testify that
          George Archuleta engaged in pretextual searches of D.M. and touched D.M.
          inappropriately.
     6.         Rio Rancho Public Schools staff, administrators and other individuals who are
          unknown at this time.


Plaintiffs’ Documents:

     1.        All documents listed by Defendants
     2.        All documents exchanged in discovery
     3.        All documents identified by any other party or in discovery.


Plaintiffs’ Experts:

Plaintiff has not yet identified any experts.

Defendants Rio Rancho Public Schools, Board of Education’s Witnesses:

     1.       George Archuleta, c/o Carlos M. Quiñones, Esq., 1223 S. Saint Francis Dr., Ste.
        C, Santa Fe, New Mexico, 87505 (505) 992-1515. It is expected that Mr. Archuleta
        will testify regarding any interaction, if any occurred, between himself and D.M.
     2.       V. Scott Affentranger, Principal, c/o Jerry A. Walz, 133 Eubank Blvd NE,
        Albuquerque, NM 87123 (505) 275-1800. It is expected that Principal Affentranger
        will testify as to George Archuleta’s employment and the fact that the school district
        was unaware of any complaints made against him of any type by Plaintiff D.M.
     3.       Rio Rancho Public Schools staff, administrators and other individuals who are
        unknown at this time.

Defendants Rio Rancho Public Schools, Board of Education’s Documents:

     1.        George Archuleta Personnel File
     2.        6.11.2 NMAC
     3.        RRPS Policy 1009

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     4.       2018-2019 V. Sue Cleveland High School Student Handbook
     5.       2019-2020 V. Sue Cleveland High School Student Handbook
     6.       2020-2021 V. Sue Cleveland High School Student Handbook
     7.       Rio Rancho Public Schools – Processes and Procedures: Search & Seizure
     8.       Any and all school records related to L.M.
     9.       All documents exchanged in discovery
     10.      All documents identified by any other party


Defendants Rio Rancho Public Schools, Board of Education’s Experts:

Defendants Rio Rancho Public Schools Board of Education have not yet identified any experts.
Defendants Rio Rancho Public Schools Board of Education reserves the right to do so pursuant
to the Federal Rules of Civil Procedure and/or the orders of the Court.

Defendant George Archuleta’s Witnesses:

   1. George Archuleta, Defendant
      Albuquerque, NM
      c/o Carlos M. Quiñones, Esq.
      1223 S. Saint Francis Dr., Ste. C
      Santa Fe, NM 87505
      (505) 992-1515

       Defendant Archuleta will testify regarding his employment with Rio Rancho Public
       Schools, policies and procedures related to searches of students, and that he had no
       interactions with Plaintiff L.M. as alleged in Plaintiff’s Complaint. Defendant Archuleta
       is to be contacted through his legal counsel.

   2. Sarah Montoya o/b/o L.M.,a minor child, Plaintiff
      c/o Jason Bowles, Esq.
      Bowles Law Firm
      4811 Hardware Dr. NE, Ste. D-5
      Albuquerque, NM 87109
      (505) 217-2680

       and

       Robert Gorence, Esq.
       300 Central Ave. NW, Ste. 1000-E
       Albuquerque, NM 87102
       (505) 244-0214

       and

       Todd J. Bullion, Esq.
       300 Central Ave. NW, Ste. 1000-E

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        Albuquerque, NM 87102
        (505) 452-7674
        Attorneys for Plaintiffs

    3. Rio Rancho Public Schools staff, administrators and other individuals who are unknown
          at this time.

    4. Any and all factual witnesses identified by Plaintiff and any other party.


Defendant George Archuleta’s Documents:

    1. Any and all documents produced by Plaintiff and any other party.

    2. Any and all documents that become known during the course of litigation.

    3. Any and all documents used solely for rebuttal purposes.

Defendant George Archuleta’s Experts:

        At this time, Defendant Archuleta has not identified any experts. Defendant Archuleta

reserves the right to do so pursuant to the Federal Rules of Civil Procedure and/or the orders of

the Court.

        Discovery will be needed on the following subjects: (Brief description of subjects on

which discovery will be needed.)

        Discovery will be needed regarding liability and damages.

        Maximum of 25 interrogatories by each party to any other party. (Responses due 30 days

after service).

        Maximum of 25 requests for admission by each party to any other party. (Response due

30 days after service).

        Maximum of 10 depositions by Plaintiff(s) and 10 by Defendant(s). This deposition limit

does not include expert witness depositions.

        Each deposition (other than of parties) limited to maximum of 4 hours unless extended by

agreement of parties.

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            Reports from retained experts under Rule 26(a)(2) due:

                   from Plaintiff(s) by December 1, 2021

                   from Defendant(s) by January 2, 2022

            Supplementation under Rule 26(e) due every 30 days.

            All discovery commenced in time to be complete by February 21, 2022.

            Other Items: (Use separate paragraphs or subparagraphs as necessary if other parties

disagree.)

                                         PRETRIAL MOTIONS

            Plaintiff intends to file: Motion to admit evidence that George Archuleta engaged in similar

behavior committing sexual assault against two other high school boys, J.M. and D.M. under the

pretext of performing his duties as a security guard. Plaintiff L.M. may move to join claims that J.M.

and D.M. will also assert against Defendants. Plaintiff may file motions in limine as needed prior

to trial.

            Defendants Rio Rancho Public Schools, Board of Education intend to file: Motion to

Dismiss, Motion for Summary Judgment, and other applicable motions developed during the

litigation, including motions in limine.

            Defendant George Archuleta intends to file: Motion for Summary Judgment based on

Qualified Immunity; Motion for Summary Judgment upon close of discovery; various motions in

limine as may be necessary prior to trial; Motion for Costs and Fees.

                                       ESTIMATED TRIAL TIME

            The parties estimate trial will require 4 days.

            ____ This is a non-jury case.

             X This is a jury case.

            The parties request a pretrial conference in March 2022.


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                                        SETTLEMENT

       The possibility of settlement in this case is considered unlikely. The parties request a

settlement conference at the close of discovery.

                                         EXCEPTIONS

       (Where counsel cannot agree to any recitation herein, exceptions shall be listed.)



                                             APPROVED WITHOUT EXCEPTIONS


                                             _/s/ Electronically Approved 8-09-2021_
                                             For Plaintiffs
                                             Jason Bowles, Esq.
                                             Robert Gorence, Esq.
                                             Todd Bullion, Esq.

                                             WALZ AND ASSOCIATES, P.C.

                                              /s/ Jerry A. Walz
                                             JERRY A. WALZ
                                             ALISHA L. WALZ
                                             Attorneys for RRPS Defendants
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                                             QUIÑONES LAW FIRM LLC

                                             /s/ Carlos M. Quiñones
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